                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

In the Matter of:                                             In Bankruptcy

Iott, Kevin Roland and Laura Sue,                              Chapter 7
                                                               Case No. 09-48174-SWR
    Debtors.                                                   Hon. Steven W. Rhodes
_______________________________/


                       STIPULATION TO WITHDRAW MOTION

       Timothy J. Miller, Trustee, and Kevin Roland Iott and Laura Sue Iott, Debtors, by
their respective counsel, hereby stipulate to withdraw Trustee’s Motion for Order Directing
Debtors to Appear for Examination and Produce Records pursuant to BR 2004.



Dated: August 13, 2010                     /s/Kimberly Ross Clayson
                                          Kimberly Ross Clayson (P69804)
                                          Attorney for the Trustee
                                          Schneider Miller, P.C.
                                          645 Griswold, Suite 3900
                                          Detroit, MI 48226
                                          313-237-0850
                                          kclayson@schneidermiller.com




Dated: August 13, 2010                    /s/Kenneth A. Nathan
                                          Kenneth A. Nathan (P39142)
                                          Attorney for the Debtors
                                          Nathan Zousmer, P.C.
                                          260 Franklin Center
                                          29100 Northwestern Highway
                                          Southfield, MI 48034
                                          248-351-0099
                                          knathan@nathanzousmer.com




  09-48174-swr      Doc 55   Filed 08/13/10   Entered 08/13/10 11:52:51     Page 1 of 1
